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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                    )
 BI-LEVEL PAP, AND MECHANICAL                     )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                              )
 LITIGATION,                                      )      MDL No. 3014
                                                  )
 This Document Relates to: All Actions            )



                                         JOINT NOTICE
        Pursuant to the Court’s Text Order of April 27, 2022, below please find a list of counsel

 speaking on behalf of the Plaintiffs and Defendants for the February 25, 2025 Status Conference.

Speaking on behalf of Plaintiffs:

Co-Lead Counsel:
Sandra Duggan (Levin, Sedran & Berman, LLP)
Kelly K. Iverson (Lynch Carpenter, LLP)
Steven Schwartz (Chimicles, Schwartz, Kriner & Donaldson-Smith, LLP)
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Co-Liaison Counsel:
D. Aaron Rihn (Robert Peirce & Associates, PC)
Peter St. Tienne Wolff (Pietragallo, Gordon, Alfano, Bosick & Raspanti, LLP)

Settlement Committee:
Lisa Ann Gorshe (Johnson Becker, PLLC)
Roberta Liebenberg (Fine, Kaplan & Black, RPC)
Arthur H. Stroyd, Jr. (Del Sole Cavanaugh Stroyd LLC)

Other Participants:
David Buchanan (Seeger Weiss, LLP)
Ava Cavaco (Nigh Goldenberg Raso & Vaughn, PLLC)
Caleb Seeley (Seeger Weiss, LLP)

Speaking on behalf of Philips RS North America LLC:
Lisa C. Dykstra (Morgan, Lewis & Bockius, LLP)
John P. Lavelle, Jr. (Morgan, Lewis & Bockius, LLP)

Speaking on behalf of Other Philips Defendants:
Tracy Richelle High (Sullivan & Cromwell LLP)
William B. Monahan (Sullivan & Cromwell LLP)
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Speaking on behalf of Polymer Technologies, Inc. and Polymer Molded Products, LLC:
Eric Scott Thompson (Franklin & Prokopik, PC)

Speaking on behalf of SoClean, Inc. and DW Management Services, LLC:
Michelle R. Gillboe (Lewis Brisbois Bisgaard & Smith LLP)
Ashley Rodgers (Lewis Brisbois Bisgaard & Smith LLP)

Speaking as the Settlement Administrator for the Private Personal Injury Settlement:
Orran L. Brown, Sr. (BrownGreer)
David Smith (BrownGreer)

Speaking as the Lien Administrator for the Private Personal Injury Settlement:
Jason Wolf (Wolf Global Compliance)


DATED: February 21, 2025                     Respectfully submitted,

                                             /s/ D. Aaron Rihn
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